
Island Life Chiropractic, P.C., as Assignee of Thony, Adler, Appellant, 
againstAllstate Insurance Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Law Offices of Peter C. Merani, P.C. (Eric M. Wahrburg, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered November 6, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that defendant had not issued an insurance policy covering the subject loss and, thus, that plaintiff had sued the wrong insurer.
Contrary to plaintiff's argument, the proof submitted by defendant was sufficient to establish, prima facie, that defendant had not issued a policy covering the subject loss (see Delta Diagnostic Radiology, P.C. v American Tr. Ins. Co., 44 Misc 3d 136[A], 2014 NY Slip Op 51240[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2014]). Plaintiff's remaining arguments are either improperly raised for the first time on appeal or lack merit.
Accordingly, the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: October 27, 2017










